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                                             No. l8-738C
                                        (Filed: July 27,2018)                        FILED
* * **    * * * * * * *   N<   * r.   !t!   * * * * * * * * * * *                  JUL 2 7 2018
                                                                                 U.S, COURT OF
ANTHONY CLARKE,                                                                  FEDERAL CLAIMS


                                            Plaintffi



THE T]NITED STATES,

                                        Defendant,




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                                                  ORDER

        Anthony Clarke filed a complaint on May 24,2018. He neglected to
pay his filing fee nor did he seek leave to proceed in forma pauperis.
Defendant has filed a motion to dismiss for lack of jurisdiction or, in the
alternative, for failure to state a claim, but we find it unnecessary to address
that motion because it is apparent on the face ofthe complaint that the court
lacks jurisdiction.

      In substance, Mr. Clark seeks exoneration and expungement of his
criminal record, although the complaint contains numerous irrelevant
assertions and citations. This court's general jurisdiction under 28 U.S.C. $
1491 does not extend to a review of criminal convictions or sentences, and
none of the other statutes granting the court jurisdiction do so.

         Accordingly, following is ordered:

         l.   Defendant's motion to dismiss is denied as moot.

         2.   The Clerk of Court is directed to dismiss the complaint and enter



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    judgment for defendant.r




                                         EzuC G. BRUGGINK
                                         Senior Judge




    ' Plaintiff remains obligated to pay the court filing fee.

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